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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re Clearview AI, Inc., Consumer               )
Privacy Litigation,                              )       Case No. 21 C 0135
                                                 )
                                                 )       Judge Sharon Johnson Coleman
                                                 )

                                                ORDER

        The Court, in its discretion, denies the Illinois class plaintiffs’ motion for a preliminary

injunction [30].

                                           BACKGROUND

        This multi-district litigation involves defendants’ alleged violations of the Illinois Biometric

Information Privacy Act, 740 ILCS 14/1, et seq. (“BIPA”). Specifically, in their consolidated class

action complaint, plaintiffs bring numerous claims under BIPA alleging that the Clearview

defendants’ conduct violated their privacy rights and that defendants’ use of their biometric

information was without their knowledge and consent. Plaintiffs allege that the Clearview

defendants covertly scraped three billion photographs of facial images from the internet and then

used artificial intelligence algorithms to scan the face geometry of each individual depicted in the

photographs in order to harvest the individuals’ unique biometric identifiers and corresponding

biometric information. Further, plaintiffs explain that the Clearview defendants created a searchable

database containing biometrics and allowed users of the database to identify unknown individuals

merely by uploading a photograph to the database. The database can be searched remotely by

licensed users of the Clearview web application.

        Since lead class counsel filed Mutnick v. Clearview AI, Inc., Case No. 20-cv-0512, on January

22, 2020 in this district, the Clearview defendants have taken steps to change their business practices

in general and also in relation to the Illinois class. These changes include: (1) blocking all photos
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that have metadata associating them with a geolocation in Illinois from being included in search

results on the Clearview app; (2) blocking login attempts from IP addresses in Illinois to the best of

Clearview’s ability; and (3) completing technical modifications to Clearview’s collection methods to

avoid collecting photos of Illinois residents in the future, among other changes. Clearview has also

implemented safeguards to secure its data, such as employee cybersecurity training, encryption of the

facial vectors it generates, and deployment of anti-intrusion devices.

                                         LEGAL STANDARD

        A “preliminary injunction is an exercise of a very far-reaching power, never to be indulged in

except in a case clearly demanding it.” Orr v. Shicker, 953 F.3d 490, 501 (7th Cir. 2020) (citation

omitted). A party seeking a preliminary injunction must first demonstrate: (1) the likelihood

of success on the merits; (2) there is no adequate remedy at law; and (3) irreparable harm is likely in

the absence of a preliminary injunction. See Winter v. Natural Res. Defense Council, Inc., 555 U.S. 7, 22,

129 S.Ct. 365, 172 L.Ed.2d 249 (2008); Cassell v. Snyders, 990 F.3d 539, 544-45 (7th Cir. 2021). If the

moving party makes this threshold showing, the Court then considers the balance of harms between

the parties and the effect on the public interest. Tully v. Okeson, 977 F.3d 608, 613 (7th Cir. 2020).

The Court has considerable discretion in determining preliminary injunction motions. Cassell, 990

F.3d at 545.

                                             DISCUSSION

        The Court turns to whether plaintiffs have established that irreparable harm is likely in the

absence a preliminary injunction because it is dispositive. Plaintiffs base their irreparable harm

argument on what they call the Clearview defendants’ “lax security practices” and two past data

breaches of Clearview’s electronic systems. Plaintiffs further argue that they will be irreparably

harmed based on the existence of two off-shore Clearview subsidiaries, which plaintiffs assert may

offer Clearview’s software to foreign entities. To establish irreparable harm, the mere possibility of


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irreparable injury is not enough; rather, plaintiffs must demonstrate that they will likely suffer

irreparable harm in the absence of an injunction. Orr, 953 F.3d at 501.

        The Court first examines plaintiffs’ argument concerning Clearview’s lax security practices

and two data breaches. The two data breaches exposed Clearview’s source code, employee

information, and client list—not facial images or facial vectors. In support of their irreparable harm

argument, plaintiffs cite newspaper articles outlining the general dangers of security threats, such as

the 2017 Equifax data breach. Then, without citing evidence in the record, plaintiffs argue that the

Clearview defendants do not take security breaches seriously. A February 26, 2020 Daily Beast

article in which Clearview stated “unfortunately, data breaches are part of life in the 21st Century,” is

not sufficient evidence to suggest that Clearview does not take security breaches seriously.

Meanwhile, as discussed above, the Clearview defendants have provided evidence of certain

safeguards it has implemented to secure its data.

        Plaintiffs’ general arguments about the possibility of future data breaches and Clearview’s lax

security practices suggest a mere possibility of irreparable harm, not that they will likely suffer

irreparable harm. Although the Court recognizes plaintiffs need not show that harm has already

occurred, Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Ed., 858 F.3d 1034, 1045 (7th Cir. 2017),

plaintiffs must present some evidence from which the Court can draw a reasonable inference that

they are likely to suffer irreparable harm before final judgment. Instead of presenting evidence,

plaintiffs take issue with Clearview’s general counsel, Thomas Mulcaire, and his deposition

testimony in which his responses about Clearview’s security measures lacked precision and where he

admitted he was not a cybersecurity expert. Perhaps Mulcaire was not the best Rule 30(b)(6) witness

to testify about Clearview’s security measures, but his lack of knowledge does not create a

reasonable inference that plaintiffs will likely suffer irreparable harm before final judgment. In

short, plaintiffs must do more than show that an irreparable harm “could” arise. Orr, 953 F.3d at


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502. Moreover, the evidence plaintiffs do present, Clearview’s filing of a patent application dated

August 7, 2020 describing a broad use of its technology, is too attenuated to suggest that plaintiffs

will likely suffer irreparable harm before final judgment, especially because the average time between

a patent application and approval is approximately twenty-two months. 1

        As to plaintiffs’ argument about the offshore subsidiaries in Panama and Singapore, evidence

in the record indicates that these subsidiaries currently have no customers and that they were

established to potentially transact with Latin American and Asian law-enforcement authorities. Also,

Clearview has yet to authorize these subsidiaries to provide its product in the United States. Under

these circumstances, plaintiffs’ fear of a future injury is too speculative to support plaintiffs’ motion

for preliminary injunction. See Michigan v. U.S. Army Corps of Eng’rs, 667 F.3d 765, 788 (7th Cir. 2011)

(“[A] preliminary injunction will not be issued simply to prevent the possibility of some remote

future injury.”) (citation omitted).

IT IS SO ORDERED.

Date: 6/14/2021
                                                         Entered:



                                                         _____________________________
                                                         SHARON JOHNSON COLEMAN
                                                         United States District Judge




        1   uspto.gov/dashboard/patents/pendency.html

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